` Case 2:05-cV-02307-.]PI\/|-Cgc Document40 Filed 09/01/05 PagelofB Page|D 31 4_

IN THE UNITED sTATES DISTRICT CoURg`LED m oPEN COURT
wESTERN DISTRICT oF TENNESSEE q[ l log ___
wEsTERN DIVISION oATF=

CARRIER CoRPoRATIoN, T\ME. W
\N\T\ALS:___QE_---
PLAINTIFF,

V. CIVIL AC'I`ION NO.: 2:05-cv-02307-JPM-dvk

PAUL P. PIPER, JR., et al.,

DEFENDANTS

AGREED ()RDER ALLOWING WITHDRAWAL AND SUBSTITUTION OF COUNSEL

Come now the parties and State to the Court, by consent, that Charles C. I-Iarrell and
Charles F. Morrow of the law firm of Butler, Snow, O'Mara, Stevens & Cannada, PLLC, 6075
Poplar Avenue, Suite 500, Memphis, Tennessee, 38119, Telephone No.: (901) 680-7200,
Facsimile No.: (901) 680-7201, should be substituted as counsel of record for Defendant,
Quanex Corporation, and that Robert E. Craddock, Jr., and the law firm of Wyatt, Tarrant &
Combs, LLP, should be allowed to withdraw as counsel of record for Defendant, Quanex
Corporation.

IT IS, THEREFORE, OR.DERED that Robert E. Craddock, Jr., and the law firm of
Wyatt, Tarrant & Combs, LLP, are hereby allowed to withdraw as counsel of record for
Defendant, Quanex Corporation, effective immediately and Charles C. Harrell and Charles F.
Morrow and the law linn of Butier, Snow, O’Mara, Stevens & Cannada, PLLC are hereby
substituted as counsel of record for Defendant, Quanex Corporation, for all purposes, including

trial hereof.

Thls document entered on the docket sh eti com
with Hu|e 58 and/or 79(:1) F~P.CP on

Hanco

   

' Case 2:05-cV-02307-.]PI\/|-Cgc Document 40 Filed 09/01/05 Page 2 of5 Page|D 32

SO ORDERED this the / day of September, 2005.

M>‘(m,

UNI *`D STATES DISTRICT JUDGE

 

 

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AGREED TO AND APPROVED:

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and

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` Case 2:05-cV-023O7-.]PI\/|-Cgc Document 40 Filed 09/01/05 Page 4 of 5 Page|D 34

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Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
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September 2, 2005 to the parties listed.

 

 

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Honorable J on McCalla
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